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 6                                     UNITED STATES DISTRICT COURT

 7                                           DISTRICT OF NEVADA

 8                                                     ***
                                                       )
 9   SALESTRAQ AMERICA, LLC,                           )
                                                       )      2:08-CV-1368-LRH-LRL
10                        Plaintiff,                   )
                                                       )
11   v.                                                )      ORDER
                                                       )
12   JOSEPH A. ZYSKOWSKI,                              )
     DEVMARKETING, INC.,                               )
13                                                     )
                          Defendants.                  )
14                                                     )

15          Before the court is counter-defendant Larry E. Murphy’s (“Murphy”) motion to dismiss

16   defendants’ counterclaims filed on October 16, 2009. Doc. #431.

17          Also before the court are defendants’ motion for entry of clerk’s default (Doc. #41) and

18   defendants’ motion to amend the motion for entry of clerk’s default (Doc. #44).

19   I.     Facts and Background

20          Plaintiff SalesTraq America, LLC (“SalesTraq”) is a Nevada business that provides

21   information about the features of residential property in Las Vegas through its website,

22   salestraq.com. Defendant Joseph A. Zyskowski (“Zyskowski”) is the president of defendant

23   devMarketing, Inc. (“devMarketing”).

24          In 2007, Zyskowski purchased a six-month subscription to SalesTraq. Thereafter,

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26          1
                Refers to the court’s docket number.
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 1   defendants began operating their own website, devMLS.com, which allegedly includes

 2   reproductions of SalesTraq’s content. Salestraq subsequently brought suit for copyright

 3   infringement. Doc. #1.

 4          Defendants filed counterclaims against SalesTraq alleging: (1) false description under 15

 5   U.S.C. § 1125(a)(1)(B); (2) defamation; (3) intentional interference with prospective economic

 6   advantage; and (4) attempt to maintain a monopoly. Doc. #32. Defendants also joined non-party

 7   Murphy as a counter-defendant to the action. Id. Thereafter, counter-defendant Murphy filed the

 8   present motion to dismiss defendants’ counterclaims. Doc. #43.

 9   II.    Motion to Dismiss Counterclaims

10          Pursuant to Fed. R. Civ. P. 13(a), a defendant must state any counterclaim it has against an

11   opposing party if the claim “arises out of the transaction or occurrence that is the subject matter of

12   the opposing party’s claim.” Here, Murphy argues that he was not an opposing party to the action at

13   the time the counterclaim was filed. Further, Murphy argues that he is not an indispensable party

14   under Fed. R. Civ. P. 19 because the court can grant complete relief to the existing parties without

15   his presence. Thus, Murphy argues there was no basis to include him as a counter-defendant and

16   that his addition to the counterclaims was procedurally improper.

17          However, “persons other than those made parties to the original action may be made parties

18   to a counterclaim” in accordance with the provisions of Rule 20. FED . R. CIV . P. 13(h). Rule 20(a)

19   provides for the permissive joinder of parties as defendants if there is “any right to relief asserted

20   against them jointly, severally, or in the alternative with respect to or arising out of the same

21   transaction, occurrence, or series of transactions or occurrences” and if “any question of law or fact

22   common to all defendants will arise in the action.” FED . R. CIV . P 20. Here, defendants’ allege that

23   both SalesTraq and Murphy engaged in the actions forming the counterclaims. Further, the

24   counterclaims seek to hold both counter-defendants jointly or severally liable. Accordingly,

25   Murphy’s joinder to the counterclaims was procedurally proper.

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 1   III.   Remaining Motions

 2          Defendants filed a motion for entry of clerk’s default on October 16, 2009, arguing that

 3   counter-defendant Larry E. Murphy was served on August 28, 2009, and had failed to file an

 4   answer or otherwise respond to the counterclaims in a timely manner. Doc. #41. Thereafter,

 5   defendants filed a motion to amend the motion for entry of clerk’s default noting that counter-

 6   defendant Larry E. Murphy was not served until September 10, 2009. Doc. #44. The court will

 7   grant defendants’ motion to amend the motion to reflect the actual service date of counter-

 8   defendant Larry E. Murphy.

 9          As to defendants’ motion for entry of clerk’s default, counter-defendant Murphy filed his

10   motion to dismiss the counterclaims the same day defendants filed the motion for entry of clerk’s

11   default. Doc. #43. The court recognizes the public has a strong interest in the resolution of cases on

12   their merits. See Ghazali v. Moran, 46 F.3d 52, 53 (9th Cir. 1995). Accordingly, the court will deny

13   defendants’ request for an entry of clerk’s default because counter-defendant Murphy responded to

14   the counterclaims.

15          IT IS THEREFORE ORDERED that counter-defendant’s motion to dismiss (Doc. #43) is

16   DENIED.

17          IT IS FURTHER ORDERED that defendants’ motion to amend (Doc. #44) is GRANTED.

18          IT IS FURTHER ORDERED that defendants’ motion for entry of default (Doc. #41) is

19   DENIED.

20          IT IS SO ORDERED.

21          DATED this 14th day of January, 2010

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23                                                     __________________________________
                                                       LARRY R. HICKS
24                                                     UNITED STATES DISTRICT JUDGE

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